
21 N.Y.2d 732 (1968)
The People of the State of New York ex rel. Jack Carlat, Respondent,
v.
Harold W. Follette, as Warden of Green Haven Prison, Appellant.
Court of Appeals of the State of New York.
Argued January 2, 1968.
Decided January 11, 1968.
Louis J. Lefkowitz, Attorney-General (Brenda Soloff, Samuel A. Hirshowitz, Amy Juviler and Albert O. Marston of counsel), for appellant.
Nathan A. Bork for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN.
Order affirmed. Section 335-b of the Code of Criminal Procedure, prior to its amendment in 1963, required that the court give to defendant the notice therein prescribed before accepting his plea of guilty, even though such notice may have previously been given upon defendant's arraignment. (See, e.g., People ex rel. Manning v. Fay, 16 N Y 2d 1061.)
